Case 1:02-cV-01152-.]DB-tmp Document 624 Filed 07/15/05 Page 1 of 4 Page|D 738

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IN THE UNITED sTATEs DisTchT CoURT 0 ‘O@,, "
FoR THE WEsTERN DISTRICT oF TENNESSEE 630 `®
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LARRY STEVE MELTON, LARRY S. MELTON

R &. J of TENNEssEE, INC., 5 r(:~/,E;/U@
' »F .
Piaintiffs, A;@t/ /

v. No. 02-1152-B/P

BANK OF LEXINGTON branch of the
BANK OF FRIENDSHIP, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Federal Deposit Insurance Corporation’s Unopposed Motion for Leave
to file Reply July 11, 2005. However, on July 12, 2005, the Plaintiff, Larry S. Melton, filed
a pleading in opposition to FDIC’s Motion. Therefore, this motion is referred to the United
States Magistrate Judge for determinationl Any objections to the magistrate judge’s order shall
be made within ten (10) days after service of the order, Setting forth particularly those portions
of the order objected to and the reasons for the objections Failure to timely assign as error a
defect in the magistrate judge’s order will constitute a waiver of that objection. w Rule 72(a),
Federal Rules of Civil Procedure.

'~f\
IT IS SO ORDERED this /g day of July, 2005.

\%M

@DANIEL BREEN
@STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 624 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

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Honorable J. Breen
US DISTRICT COURT

